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NOT FOR PUBLICATION

                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
JASON ANTHONY W., et al.,            :
                                     :       Case No. 2:20-cv-3704 (BRM)
                  Petitioners,       :
                                     :
                  v.                 :        OPINION
                                     :
WILLIAM J. ANDERSON, et al.,         :
                                     :
                  Respondents.       :
____________________________________:

MARTINOTTI, DISTRICT JUDGE

        Before this Court is a Petition for Writ of Habeas Corpus under 28 U.S.C. § 2241 filed by

Petitioners Jason Anthony W., Melvin A.A., Juan F.S.L., Guanglei J., Jiaqiang X., Isaias R.A.,

Tieku A., Nery A.C.M., Isaias N.C. and Nicolas M.M. (collectively, “Petitioners”). 1 (ECF No. 1.)

Petitioners are individuals in the custody of the United States Department of Homeland Security

(“DHS”), Immigration and Customs Enforcement (“ICE”) who are detained at facilities in New

Jersey during the pendency of their removal proceedings. On April 6, 2020, Petitioners filed their

Petition (ECF No. 1), and the following day, filed an Emergency Motion for Temporary

Restraining Order (“Mot.”) (ECF No. 7) requesting the Court order their immediate release from

detention. Respondent filed Opposition to the Motion (“Opp.”) (ECF No. 16) and, on April 14,

2020, the Court held oral argument (ECF No. 17).

        Having reviewed the Petition and the parties’ submissions, heard oral argument, and

examined the applicable law, the Court grants Petitioners’ Jason Anthony W., Jiaqiang X., Tieku


1
 After the filing of the Petition, Petitioners Guanglei J. and Isaias N.C. were released from
custody. This Opinion addresses only the remaining eight Petitioners.
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A., Nery A.C.M. and Nicolas M.M.’s Motion 2 and orders Respondents to immediately release

Petitioners subject to the conditions set forth in the accompanying order.

I. BACKGROUND

        A. COVID-19

        The Court need not re-state all that has been written in many court decisions throughout

the country about the COVID-19 pandemic wreaking havoc around the world. 3 Suffice it to say,

both parties agree this is an unprecedented public health crisis with a profound effect on the

population at large, and institutions such as jails and prisons in particular. COVID-19 is “spread

mainly from person-to-person” and can occur (1) between persons who are in close contact,




2
 At this time, the Court will only grant the TRO Motion for Petitioners Jason Anthony W., Jiaqiang
X., Tieku A., Nery A.C.M. and Nicolas M.M. As discussed below, the Petition and TRO Motion
seek release on the theory of a substantive due process violation for subjecting Petitioner to the
“punishment” of potential exposure to COVID-19. According to Petitioner, for Melvin A.A., Juan
F.S.L. and Isaias R.A., and confirmed by the Government with regards to Melvin A.A., these
individuals are now presumptive COVID-19 positive. Accordingly, because it would appear their
claim is now one sounding in denial of proper medical care for failing to treat their COVID-19
medical needs, and not based on potential exposure, the Court finds further briefing and
information from both parties is needed. The Court will therefore reserve decision as to these three
individuals and set a short schedule in the accompanying order.
3
  See, e.g., Jeferson V. G. v. Decker, 2020 WL 1873018 (D.N.J. Apr. 15, 2020); Marvin A. G. v.
Decker, Civ. Act. No. 20-1689 (D.N.J. Apr. 14, 2020); Rafael L.O. v. Tsoukaris, 2020 WL
1808843 (D.N.J., 2020); Bent v. Barr, Civ. Action No. 19-06123, 2020 WL 1812850 (N.D. Ca.,
Apr. 9, 2020); Thakker v. Doll, 2020 WL 1671563 (Mar. 31. 2020); Basank v. Decker, Civ. Action
No. 20-2518, --- F. Supp. 3d., 2020 WL 1481503 (S.D.N.Y. Mar. 26, 2020); United States v. Veras,
No. 19-10, 2020 WL 1675975, at *3 (M.D. Pa. Apr. 6, 2020) (release request pursuant to 18 U.S.C.
§ 3142(i)); ” United States v. Raia, No. 20-1033, 2020 WL 1647922, at *1 (3d Cir. Apr. 2, 2020)
(compassionate release request pursuant to 18 U.S.C § 3582(c)(1)(A)(i)); United States v. Patel,
No. 20-14001, 2020 WL 1698785, at *1 (D.N.J. Apr. 8, 2020) (release request pursuant to 18
U.S.C. § 3142).




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meaning within six feet, and (2) by respiratory droplets when an infected person sneezes, coughs,

or talks. See Rafael L.O. v. Tsoukaris, Civil No. 20-3481, 2020 WL 1808843, at *2 (D.N.J. Apr.

9, 2020) (citing How Coronavirus Spreads, CENTERS FOR DISEASE CONTROL AND

PREVENTION,        https://www.cdc.gov/coronavirus/2019-ncov/prepare/transmission.html           (last

accessed April 8, 2020)). The virus can also be spread by infected persons who are not showing

symptoms. Id.

       Symptoms of COVID-19 can be mild, but as relevant here, the Centers for Disease Control

and Prevention has identified several groups of individuals who are at higher risk for severe illness

from COVID-19: individuals 65 years and older; nursing home/long-term care facility populations;

and those with underlying medical conditions such as chronic lung disease or moderate to severe

asthma; serious heart conditions; immunocompromised due to cancer treatment, smoking, bone

marrow or organ transplantation, immune deficiencies, poorly controlled HIV or AIDS, and

prolonged use of corticosteroids and other immune weakening medications; severe obesity;

diabetes; chronic kidney disease undergoing dialysis; liver disease. See People Who Are at Higher

Risk for Severe Illness, CENTERS FOR DISEASE CONTROL AND PREVENTION,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html

(last accessed April 15, 2020).

       B. Petitioners’ Underlying Medical Conditions

       Petitioners submitted declarations outlining their specific medical conditions, which they

argue put them at heightened risk of COVID-19 complications.

       Petitioner Jason Anthony W. is a 28-year-old man who is currently detained by ICE at

Essex County Correctional Facility (“ECCF”). (Johnson Cert. ¶ 7, ECF No. 2-6.) He suffers from

a large polyp in his left nostril, which obstructs his breathing passage. (Id. ¶ 9.) He currently uses

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a steroid spray to treat the polyp, but doctors have recommended surgery. (Id.) This polyp has

grown and has occasionally gotten so large it hangs from his inside his nose. (Id.) According to

Dr. Sugarman, anyone with respiratory difficulties, such as Petitioner Jason Anthony W., “is at

exceedingly high risk of dying from COVID-19,” and the steroid he uses may suppress his immune

system, putting him at even greater risk for COVID-19. (Sugarman Cert. ¶ 10.) At the hearing, 4

the Government did not oppose Petitioner’s argument that usage of the steroid compromises his

immune system, which places him in a high-risk category according to the CDC. The Government

nevertheless opposes release because his detention is not unconstitutional.

        Petitioner Melvin A.A. is a 42-year-old man who is currently detained by ICE at the

Elizabeth County Detention Center (“EDC”). (A.A. Cert. ¶ 4.) Petitioner Melvin A.A. was

diagnosed with high blood pressure and has recently begun suffering from a sense of constriction

in his chest, shortness of breath, headaches, and a scratchy throat. (Id. ¶¶ 7-8.) After alerting the

medical unit, he was given ibuprofen and allergy medicine, even though he states he does not have

allergies. (Id.) Dr. Sugarman states Petitioner Melvin A.A. is at high risk of severe illness or death

if he contracts COVID-19, given his high blood pressure. (Sugarman Cert. ¶ 11.) During oral

argument, the Government updated Petitioner Melvin A.A.’s status and informed the Court he was

considered a presumptive positive for COVID-19 and placed into medical isolation. According to

the Government, Petitioner’s symptoms do not currently require outside care. At the hearing,

Petitioner’s counsel advised they did not have any information about his treatment. See supra note

4.




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  A transcript of the hearing, held only recently, is not yet available. The Court has summarized
its contents to the best of its recollection and using its contemporaneous notes.
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       Petitioner Juan S.L. is a 40-year-old man who is currently detained by ICE at ECCF.

(Khandwala Decl. ¶ 7, ECF No. 2-8.) Petitioner S.L. has been diagnosed with hypertension. (Id.

¶ 8.) Dr. Sugarman states it is well documented people with cardiovascular disease and severe

hypertension are at higher risk for dying from COVID-19. (Sugarman Cert. ¶ 19.) Moreover,

Petitioner S.L. currently has flu-like symptoms, including body pain and congestion. (S.L. Cert.

¶ 8.) According to Dr. Sugarman, due to his health conditions, “Mr. S.L. is at increased risk of

dying from COVID-19.” (Sugarman Cert. ¶ 19.) At the hearing, the Government did not oppose

Petitioner’s argument hypertension places him in a high-risk category according to the CDC. But

counsel informed the Court the Government nevertheless opposes release because his detention is

not unconstitutional. See supra note 4.

       Petitioner Jiaqiang X. is a 34-year-old man who is currently detained by ICE at ECCF.

(Gendelman Cert. ¶ 5, ECF No. 2-7.) Mr. Xu has high blood pressure. (Id. ¶¶ 9-12.) He is currently

on two blood pressure medications: hydrochlorothiazide and metoprolol. (Id. ¶ 10.) According to

Dr. Sugarman, both Petitioner Jiagiang X.’s “hypertension and cardiovascular disease put him at

risk of dying from COVID-19.” (Sugarman Cert. ¶ 17.) At the hearing, the Government did not

have any information on Petitioner’s underlying conditions but did not dispute Petitioner’s

representations. See supra note 4.

       Petitioner Isaias R.A. is a 39-year-old man who is currently detained by ICE at EDC.

(Hughes Cert. ¶¶ 4-5, ECF No. 2-13.) Petitioner R.A. suffers from gastritis and has an infected

foot. (Id. ¶¶ 7, 8.) He is currently suffering from a sore throat, prolonged headaches, and stomach

problems including nausea. (Id. ¶ 8.) He is exhibiting symptoms of COVID-19, including a sore

throat, some bleeding, and prolonged headaches. (Id.) He went to the medical unit for headaches

about a week and a half ago and was given allergy medication, as well as ibuprofen and

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acetaminophen. (Id.) At the hearing, Petitioner informed the Court Petitioner was presumed

positive for COVID-19 but did not have information on his treatment. The Government did not

have information on his positive diagnosis or other medical records. See supra note 4.

       Petitioner Tieku A. is a 41-year-old man who is currently detained by ICE at ECCF.

(Khandwala Decl. ¶ 7, ECF No. 2-15.) Petitioner Tieku A. has been diagnosed with hypertension.

(Id.) Additionally, Petitioner Tieku A. has been experiencing ongoing respiratory symptoms,

including a cough and runny nose for nearly the past four months. (Id. ¶ 13.) According to Dr.

Sugarman, Petitioner Tieku A.’s hypertension “is a known risk factor for COVID-19.” (Sugarman

Cert. ¶ 19.) Similarly, his respiratory symptoms, including a cough and runny nose for nearly the

past four months “make it more likely that he will be infected and die from COVID-19.”

(Sugarman Cert. ¶ 12.) At the hearing, the Government did not have information on his medical

status, but concedes if he has those symptoms, he falls into high risk category. See supra note 4.

       Petitioner Nery A.C.M. is a 35-year-old man who is currently detained by ICE at ECCF.

(Khawam Cert. ¶¶ 5-6, ECF No. 2-14.) He struggles to breathe as a result of bronchitis, which

causes him to become severely ill whenever he has an infection. (Id.) Petitioner Nery A.C.M.

suffers from bronchitis, insomnia, and excruciating headaches. He also suffered severe injuries

after falling in 2014 while working in construction, including crushed lungs. (Id. ¶¶ 7-8.) He almost

died from his injuries and had to undergo five surgeries. Despite the operations, he has difficulty

breathing from his nose. (Id. ¶ 8.) According to Dr. Sugarman, due to his breathing difficulties,

Petitioner Nery A.C.M. is “at an even higher risk of being infected with and dying from COVID-

19” because “[i]t is well documented that anyone with respiratory difficulties is at exceedingly

high risk of dying from COVID-19.” (Sugarman Cert. ¶ 18.) Additionally, because Petitioner Nery

A.C.M. has disabilities and comorbid medical conditions, he is “at a significantly higher risk of

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dying from COVID-19.” (Id.) The Government informed the Court at the hearing ICE did not

consider Petitioner Nery A.C.M. high risk based on his conditions. See supra note 4.

       Petitioner Nicolas M.M. is a 37-year-old man currently detained at EDC. Petitioner M.M.

was diagnosed with bronchitis, and his breathing problems have escalated over the past two weeks.

(Gendelman Cert. ¶¶ 5, 11, ECF No. 12.) He is breathing more heavily and can hear noise in his

chest. (Id. ¶ 11.) When he exhales completely, he feels like there is still air remaining in his lungs.

(Id.) On March 30, 2020, his conditions required prescriptions for a nasal spray, Montelukast, and

Cetirizine, and on April 1, 2020, he required treatment from a machine through which albuterol

was administered. (Id.) According to Dr. Sugarman, Petitioner M.M. is exhibiting “symptoms of

asthma and bronchitis, both of which are pulmonary diseases that create a high-risk of infection or

death from COVID-19.” (Sugarman Cert. ¶ 15.) The Government informed the Court at the hearing

ICE determined Petitioner’s breathing issues were due to spider bite, and there were no further

reported problems. See supra note 4.

       C. Conditions at EDC and ECCF

       Petitioners submitted a declaration from Dr. Allen S. Keller, an associate professor of

medicine and population health at NYU School of Medicine which stated the following with

regards to the conditions at both ECCF and EDC:

               Detained immigrants at Essex County Jail and Elizabeth Detention
               Center are housed in confined dormitory-like quarters with multiple
               detainees. They sleep with many detainees in close quarters. Meals
               are served in communal settings and so too does recreation. Both
               detention facilities are enclosed, prison-like facility and puts
               detainees in close contact around the clock. “Social Distancing
               COVID-19 Guidelines,” as per the CDC and the White House
               COVID-19, are virtually impossible at both facilities . . . . It is my
               professional opinion that health care provided at Essex County
               Correctional Facility and Elizabeth Detention Center, even under
               normal conditions, is inadequate and raises concerns about safety.

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               Additionally, there are inadequacies in hygiene and sanitation.

(Keller Decl. ¶¶ 11-16, ECF No. 2-1.)

       Petitioners also submit declarations regarding their experiences at the facilities. At EDC,

Petitioner Melvin A.A. is confined to a “dorm” currently holding about 30 detainees, where he is

confined 23 hours per day. (Hughes Decl. ¶ 5, ECF No. 2-4.) The beds are close together, the

detainees are crowded in, and it is not possible for them to remain six feet apart. (Id.) They are all

forced to eat, sleep, and go to the bathroom in the same space. (Id.) At one point after the beginning

of the COVID-19 crisis, the detainees in his dorm were left three days without soap to wash their

hands. (Id.) Even now, the soap is not renewed as frequently as it runs out by the sinks in the

bathroom area. (Id.)

       Petitioner Nicolas M.M. is housed at EDC and currently in a room with two other detainees.

(Gendelman Decl. ¶ 10, ECF No. 2-12.) He does not have access to hand sanitizer or masks to

protect himself. (Id.) While the facility has started limiting the number of detainees who can be in

a hallway at once, dormitories are still packed with approximately forty people in each dormitory

and the beds are only two or three feet apart. (Id. ¶ 14.) Petitioner Nicolas M.M. does not have the

ability to social distance and protect himself from getting sick, whether he is in a dormitory or in

isolation with other individuals. (Id.)

       Petitioner Isaias R.A. is detained at EDC where he lives in a dorm which has the capacity

to hold 40 people, and currently holds 26 people. (Hughes Decl. ¶ 5, ECF No. 2-13.) Cleaning the

dorms is done by detainees, and while they have access to water to wash their hands, they do not

have consistent access to soap because the staff at the detention center do not replace it

immediately when it runs out. (Id. ¶ 6.)

       At ECCF, Petitioner Jason Anthony W. lives in a “dorm,” which is a room with beds for

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48 detainees. (Johnson Decl. ¶ 8, ECF No. 2-6.) He reports social distancing is impossible as the

detainees eat in a cafeteria-style setting and no more than 18 inches from each other and the beds

are approximately 18 inches apart. (Id. ¶ 10.)

       Petitioner Jiaqiang X. is also detained at ECCF, where he lives in a dormitory of fifty

people. (Gendelman Decl. ¶ 8, ECF No. 2-7.) The dormitory has bunk beds, and he estimates they

are significantly less than six feet apart. (Id.) He does not have access to hand sanitizer. (Id. ¶ 9.)

He submitted a request, but his request was rejected, and he was informed washing his hands was

a more effective method of disease prevention. (Id. ¶ 9.) He regularly washes his hands but reports

there is very little water in the faucets because of attempts to conserve water. (Id.)

       Petitioner Juan F.S.L. is also at ECCF, where he lives in a dormitory, which contains 50 or

more detainees and social distancing is not possible. (Khandwala Decl. ¶¶ 9-10, ECF No. 2-8.) He

reports no one is taking detainees’ temperatures regularly, and there is no information on how

many detainees have been tested for flu or COVID-19, even when they exhibit symptoms

consistent with those conditions. (Id. ¶ 13.) While the guards have recently been provided with

masks and gloves, this has not been the case for detainees. (Id. ¶ 14.)

       Petitioner Tieku A. is detained at ECCF in Dorm 2, which contains about 50 detainees.

(Khandwala Decl. ¶ 14, ECF No. 2-15.) He reports social distancing is not occurring and is

practically impossible. (Id. ¶ 16.) A detainee who slept only 2 feet away from Petitioner Tieku A.

was recently removed from Dorm 2 and quarantined. (Id. ¶ 17.) Detainees all use one bathroom,

they all sit together, they do not have liquid soap, only bar soap, there is no hand sanitizer, no

wipes, and detainees are the only ones who clean the dorm floors, tables, phones, and bathrooms

with little bottles of liquid soap. (Id. ¶ 18.) Guards and nurses have recently been provided with

masks and gloves, but this has not been the case for detainees, who sometimes use their own socks

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to hold the phone to prevent exposure to COVID-19. (Id. ¶ 19.)

       Respondents submitted declarations from the directors of both ECCF and EDC regarding

the policies and protocols that have been implemented. Judge Vasquez summarized the ECCF

director’s declaration as follows: 5

               Respondents submitted a declaration from Alfaro Ortiz, the Director
               of the ECCF. D.E. 17-1. On the date of Ortiz’s declaration, April 6,
               2020, two ICE detainees had tested positive for COVID-19 as had
               seven inmates in a different building, ten members of the ECCF
               correctional staff, and one nurse. Id. at ¶ 22. Ortiz details the efforts
               of ECCF to deal with the virus. Ortiz reports that ECCF is currently
               at seventy-five percent of its capacity and that dorms that were
               designed to hold sixty detainees now house a maximum of forty-
               eight. Id. at ¶¶ 4-5. He states that ECCF has provide informational
               hand-outs as to COVID-19 and that detainees have space to “sit at
               least six feet apart.” Id. at ¶ 6. Health care at ECCF is administered
               by CFG Health Systems, with a physician on-site for sixteen hours
               a day (and available twenty-four hours) as well as nurse practitioner
               and two RNs and LPNs at all times. Id. at 9-10. New detainees are
               “screened for disabilities upon admission and their temperatures are
               checked.” Id. at ¶ 8. ECCF is able to re-circulate air within the
               facility every four hours. Id. at ¶ 13. Among other measures
               instituted in response to COVID-19, ECCF educates detainees as to
               the “importance of hand washing and best practices to prevent the
               spread of COVID-19” and provides detainees daily access to sick
               call. Id. at ¶ 15. ECCF also sanitizes its kitchen hourly, hired
               additional cleaning staff, and implemented health screening for
               officers. Id. New detainees are quarantined for 14 days. Id. If a
               detainee exhibits COVID-19 symptoms, he or she is medically
               evaluated and provided a surgical mask. Id. at ¶ 17. Detainees with
               moderate to severe symptoms are immediately taken to University
               Hospital, while those with mild symptoms are quarantined. Id. at ¶
               18. As of April 6, ECCF had 85 inmates and detainees in quarantine.
               Id. at 19. Detainees who have had a known exposure to COVID-19
               but who are asymptomatic are “cohorted,” meaning that they are
               placed with other similar individuals for fourteen days. Id. at ¶ 20.

Rafael L.O., No. 20-3481, 2020 WL 1808843, at *4. As of 9:00 a.m. on April 11, 2020, ECCF



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 Respondents submitted the same April 6, 2020 Second Amended Declaration from Alfaro
Ortiz in this case and in Rafael L.O., No. 20-3481, 2020 WL 1808843.
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identified the following cases of COVID-19, confirmed by testing, amongst ECCF inmates,

detainees, and staff: (a) two ICE detainees who were previously in medical observation at

University Hospital who the hospital cleared for discharge released back into ECCF custody; those

ICE detainees are now in isolation1; (b) six inmates (non-ICE detainees) who are housed in a

separate building than ICE detainees; (c) thirty-six members of the ECCF correctional staff, none

of whom are presently at ECCF; and (d) one nurse who is also not at ECCF. (Opp. 10.)

       For the EDC, Respondents submit a declaration from Captain Abelardo Montalvo, M.D.,

the Eastern Regional Clinical Director with ICE Health Service Corps (“IHSC”), who oversees

EDC as one of his facilities. (ECF No. 16-16.) According to Dr. Montalvo, EDC has the capacity

to hold 304 detainees and currently holds 143. (Montalvo Decl. ¶ 6.) During intake of an ICE

detainee, a nurse conducts a medical screening. (Id. ¶ 10.) In cases of known exposure to a person

with confirmed COVID-19, asymptomatic detainees are placed in cohorts with restricted

movement for the duration of the most recent incubation period (14 days after most recent exposure

to an ill detainee) and are monitored daily for fever and symptoms of respiratory illness. (Id. ¶ 14.)

Any detainee with a medical condition outside the scope of the clinic will be sent out (with mask

for confirmed COVID-19 and/or advanced symptoms of the virus). (Id. ¶ 14.) All confirmed

positive cases of COVID-19 remain in the same dorm. (Id.) These detainees are afforded daily sick

call in the dorm and mandated daily monitoring with temperature checks. (Id.) EDC provides daily

24-hour access to sick calls in a clinical setting but does not have an onsite medical infirmary; it

provides referrals to local hospitals for specialty medical care. (Id. ¶ 15.)

         Soap is provided in the dorms and soap and hand sanitizer is available in the medical

clinic. (Id. ¶ 19.) EDC provides disinfectants to staff and cleaning crews and CDC recommended

cleaning and disinfection above and beyond normal activity have been implemented. (Id. ¶ 20.)

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Core Civic 6 staff are provided with face masks; and are also allowed to bring their own. (Id.) Staff

have N-95 Masks and other PPE available (Id. ¶ 20.) Core Civic was reported to be expecting a

delivery of masks, to be utilized by the detainee population, sometime between April 9, 2020 and

April 14, 2020. Once received all detainees will be provided with masks. (Id. ¶ 21.) During meals

EDC ensures detainees are kept at least six feet apart from each other. (Id. ¶ 26.) All group

activities besides limited outside time and dining have been temporarily suspended. (Id. ¶ 28.)

EDC ensures detainees’ bunks are adequately spaced apart and at least six feet apart in all

directions. (Id. ¶ 29.)

        As of 11 a.m. on April 10, 2020, there are 7 confirmed positive for COVID-19 cases in the

detainee population at EDC; 1 suspected detainee cases; 1 confirmed positive on the EDC staff; 1

suspected staff positive case. (Id. ¶ 16.)

II. JURISDICTION

        At the outset, Respondents argue Petitioners’ claims are based on conditions of

confinement and therefore not properly brought in a habeas petition. (ECF No. 16 at 11-14.) The

Court finds Judge Arleo’s recent holding in Cristian A.R. v. Decker, Civil Action No. 20-3600 on

this issue persuasive:

                Respondents argue that Petitioners cannot succeed on their
                conditions of confinement and medical claims because such
                challenges are not properly brought through habeas. Federal courts,
                however, including the Third Circuit, have condoned conditions of
                confinement challenges through habeas. See Aamer v. Obama, 742
                F.3d 1023, 1032 (D.C. Cir. 2014); see also Woodall v. Fed. Bureau
                of Prisons, 432 F.3d 235, 242-44 (3d Cir. 2005); Ali v. Gibson, 572
                F.2d 971, 975 n.8 (3d Cir. 1978). Likewise, the Supreme Court has
                repeatedly left open the question of whether detainees may
                challenge their confinement conditions via a petition for a writ of


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  It does not appear Dr. Montalvo or Respondents identify “Core Civic.” The Court can only
assume it refers to employees at EDC.
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               habeas corpus. See Bell v. Wolfish, 441 U.S. 520, 526, n.6 (1979)
               (“[W]e leave to another day the question of the propriety of using a
               writ of habeas corpus to obtain review of the conditions of
               confinement.”); Preiser v. Rodriguez, 411 U.S. 475, 499 (1973)
               (“When a prisoner is put under additional and unconstitutional
               restraints during his lawful custody, it is arguable that habeas corpus
               will lie to remove the restraints making custody illegal.”); Ziglar v.
               Abbasi, 137 S.Ct. 1843, 1862-63 (2017) (explaining that the habeas
               remedy, if necessity required its use, would have provided a faster
               and more direct route to relief for immigration detainees challenging
               a detention policy than a suit for money damages, as a successful
               habeas petition would have required officials to place respondents
               in less-restrictive conditions immediately).

               Furthermore, under 28 U.S.C. § 2241, a district court may exercise
               jurisdiction over a habeas petition when the petitioner is in custody
               and alleges that his custody violates the Constitution, laws, or
               treaties of the United States. See 28 U.S.C. § 2241(c); Maleng v.
               Cook, 490 U.S. 488, 490 (1989). Petitioners in this action claim that
               their continued detention in their current conditions of confinement
               violates due process. Accordingly, this Court finds that Petitioners
               may challenge their conditions of confinement through a 28 U.S.C.
               § 2241 petition for writ of habeas corpus.

(Id. at ECF No. 26 at 16-17.)

       Courts elsewhere in the Third Circuit have also come to this conclusion after reviewing

applicable Supreme Court and Third Circuit precedent. See Camacho Lopez v. Lowe, No. 20-563,

2020 WL 1689874, *4-6 (M.D. Pa. Apr. 7, 2020); Verma v. Doll, No. 20-14, 2020 WL 1814149,

at *4 (M.D. Pa. Apr. 9, 2020). The Court concurs with the reasoning of these decisions and finds

Petitioners may challenge their conditions of confinement in this habeas petition.

III. LEGAL STANDARD

        Injunctive relief is “an extraordinary remedy” and “should be granted only in limited

 circumstances.” Am. Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1426-

 27 (3d Cir. 1994) (internal quotation marks omitted); Kos Pharm., Inc. v. Andrx Corp., 369 F.3d

 700, 708 (3d Cir. 2004). To obtain a temporary restraining order, the moving party must show:

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               (1) a reasonable probability of eventual success in the litigation, and
               (2) that it will be irreparably injured . . . if relief is not granted. . . .
               [In addition,] the district court, in considering whether to grant a
               preliminary injunction, should take into account, when they are
               relevant, (3) the possibility of harm to other interested persons from
               the grant or denial of the injunction, and (4) the public interest.

       Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017) (quoting Del. River Port

Auth. v. Transamerican Trailer Transport, Inc., 501 F.2d 917, 919–20 (3d Cir. 1974)). The movant

must, as a threshold matter, establish the two “most critical” factors: reasonable probability of

eventual success in the litigation and irreparable harm. Reilly v. City of Harrisburg, 858 F.3d 173,

179 (3d Cir. 2017). Under the first factor, the movant must show that “it can win on the merits.”

Id. This showing must be “significantly better than negligible but not necessarily more likely than

not.” Id. The second factor carries a slightly enhanced burden: the movant must establish it is

“more likely than not” to suffer irreparable harm absent the requested relief. Id. If these “gateway

factors” are satisfied, the Court considers the third and fourth factors, which aim to balance the

equities by examining the potential for harm to others if relief is granted and whether the public

interest favors injunctive relief. Id. at 176, 179. The Court must then balance all four factors to

determine, in its discretion, whether the circumstances warrant injunctive relief. Id. at 179.

IV. DECISION

       A. Temporary Restraining Order

               1. Reasonable Probability Of Eventual Success In The Litigation

       In their Petition, all Petitioners argue Respondents have violated their substantive due

process rights by exposing them to a risk of COVID-19, in light of their medical conditions. (Pet.

¶¶ 101-116.)

       The Court starts its discussion with an examination of the Supreme Court’s case in Helling


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v. McKinney, 509 U.S. 25, 33 (1993). In Helling, the plaintiff was a prisoner whose cellmate was

a heavy smoker. Plaintiff filed a civil rights action arguing he had been involuntarily exposed to

levels of secondhand smoke that posed an unreasonable risk of harm to his future health. While

weighing plaintiff’s conditions of confinement claim, the Court recognized inmates are entitled to

relief under the Eighth Amendment where they prove threats to personal safety from the exposure

to serious contagious diseases. Helling, 509 U.S. at 33 (noting that the Eighth Amendment requires

a remedy when “inmates in punitive isolation were crowded into cells and some of them had

infectious maladies such as hepatitis and venereal disease” (citing Hutto v. Finney, 437 U.S. 678,

682 (1978))). The Court further held: “[n]or can we hold that prison officials may be deliberately

indifferent to the exposure of inmates to a serious, communicable disease on the ground that the

complaining inmate shows no serious current symptoms.” Id.

       Though Helling is a conditions of confinement claim by a sentenced prisoner, and therefore

arises under the Eighth Amendment, its reasoning is nonetheless relevant here in the context of an

immigration detainee. Because Petitioner is a detainee, not a convicted prisoner, his claim is one

grounded in due process, not the Eighth Amendment. The Third Circuit has made clear

immigration detainees are entitled to the same due process protections as pre-trial detainees when

raising conditions of confinement due process claims. E. D. v. Sharkey, 928 F.3d 299, 306–07 (3d

Cir. 2019). “[W]hen pretrial detainees challenge their conditions of confinement, we must consider

whether there has been a violation of the Due Process Clause . . . .” Hubbard v. Taylor, 538 F.3d

229, 231 (3d Cir. 2008). “In evaluating the constitutionality of conditions or restrictions of pretrial

detention that implicated only the protection against deprivation of liberty without due process of

law, we think the proper inquiry is whether those conditions amount to punishment of the

detainee.” Bell v. Wolfish, 441 U.S. 520, 535 (1979). Under Bell, a “particular measure amounts

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to punishment when there is a showing of express intent to punish on the part of detention facility

officials, when the restriction or condition is not rationally related to a legitimate non-punitive

government purpose, or when the restriction is excessive in light of that purpose.” Bistrian v. Levi,

696 F.3d 352, 373 (3d Cir. 2012). The Court’s “inquiry into whether given conditions constitute

‘punishment’ must consider ‘the totality of circumstances within an institution.’” Hubbard, 399

F.3d at 160 (quoting Union Cty. Jail Inmates v. DiBuono, 713 F.2d 984, 996 (3d Cir. 1983)).

       As other courts in this district recently found in Rafael L.O. v. Tsoukaris, Civil Action No.

20-3481 and Cristian A.R. v. Decker, Civil Action No. 20-3600, there is no express intent to punish

here. But even without express intent to punish under Bell, there can still be a showing of

punishment “when the restriction or condition is not rationally related to a legitimate non-punitive

government purpose, or when the restriction is excessive in light of that purpose.” Bistrian v. Levi,

696 F.3d 352, 373 (3d Cir. 2012).

       In Rafael L.O., Judge Vasquez found the conditions of confinement at ECCF, including

the number of detainees confined to limited living and sleeping quarters, limited access to hygiene

products, shared bathroom facilities, and the transmission of COVID-19 to detainees in custody,

amounted to punishment of the Petitioners, who had underlying medical conditions making them

vulnerable to serious complications or death if they contract the virus. Rafael L.O., 2020 WL

1808843, at *7-8. Judge Arleo found the same in Cristian A.R. when evaluating the conditions at

the Bergen County Facility and Hudson County Facility. See generally, Cristian A.R., Civ. A. No.

20-3600, ECF No. 26. There, Petitioners spend 23.5 hours a day in small cells they share with

another person and the remaining thirty minutes out of their cells in common areas. Id. at 21-24.

The time outside the cells includes use of common facilities, which are frequently used and cleaned

at unspecified times. Detainees lacked sufficient, and sometimes any, soap. (Id.) In light of the

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conditions at the facilities, the gaps in the Government’s protocols and the detainees’ underlying

medical conditions, both courts concluded the detainees were subjected to “punishment.” Rafael

L.O., 2020 WL 1808843, at *7-8; Cristian A.R., Civil Action No. 20-3600, ECF No. 26 at 21-25.

        The Court finds similarly here. With the exception of Petitioner Neary C.M., the

Government conceded if Petitioners medical conditions are as stated, they would fall into high risk

categories for severe COVID-19 illness. 7 For people in the highest risk populations, the fatality

rate of COVID-19 infection is about 15 percent. (Franco-Paredes Declaration 2:9-11, ECF No. 2-

9). While the Court commends the steps both facilities have taken to control the spread of the virus,

there nonetheless remain gaps leaving these medically vulnerable individuals at risk.

        Specifically, detainees at ECCF sleep in pods with 47 other individuals and a recreation

area in the center. (Ortiz Decl. ¶ 6.) While detainees apparently have the ability to sit six feet apart

in the pods, there is no mention of the arrangement of the beds. Other inmates at ECCF are in two-

man cells, with bunk beds not allowing for six feet of space. (Id.) Director Ortiz states ECCF has

developed a protocol for individuals with underlying health conditions. (Id. ¶ 15(f).) This protocol

includes daily monitoring of these inmates and detainees, and the establishment of a plan to remove

the inmates from the rest of the population “should the need arise.” (Id.) While certainly any

additional monitoring is beneficial, it does not address the core issue of preventing the disease for

these individuals. Director Ortiz states all housing units are sanitized three times per day, but there

is no discussion of cleaning of common areas. (Id. ¶ 15(m).) Detainees who are exhibiting

symptoms are given masks (Id. ¶ 17), but it is well documented asymptomatic individuals can

infect others. In fact, as acknowledged in Director Ortiz’s declaration, one individual who tested



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  While the Government stated ICE did not consider him to be high-risk, they do not point to any
support for this statement.
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positive had normal vital signs, and it was only discovered he was positive when he went to the

hospital for a laceration. (Id. ¶ 22 n.1.) Under ECCF’s own protocols, nothing would have

prevented this individual from interacting with high-risk individuals and unknowingly infecting

him or her.    Finally, none of the statements in Director Ortiz’s declaration contradict the

detainee’s statements regarding the space between beds; the limited amount of soap and no

sanitizer; and the cleaning of common areas which is done by detainees using only soap.

       At EDC, they state they have a “special protocol” for high risk detainees, but much like

ECCF, it only consists of mandatory daily temperature monitoring. (Montalvo Decl. ¶ 14.) He

states “[s]oap is provided in the dorms, and soap and hand sanitizer are available in the medical

clinic,” but this does not address whether detainees have access to soap at all times. (Id. ¶ 19).

Detainees still gather for meals, and even though Director Montalvo states chairs are placed six

feet apart, there is no indication detainees are able to maintain social distance at all times in this

area. (Id. ¶ 27.) Detainees are also together during “limited outdoor time.” (Id. ¶ 28.) He further

states “CDC recommended cleaning and disinfection above and beyond normal activity have been

implemented” but provides no further information about how often each area of the facility is

cleaned and disinfected. (Id. ¶ 20.) While they are “expecting” a delivery of masks for the detainees

(Id. ¶ 21), there is no indication the masks have arrived; how many will be available; how often

the detainees can obtain new ones; whether detainees will be required to wear them at all times,

etc. Moreover, none of the statements in Director Montalvo’s declaration contradict the detainee’s

statements they are confined in pods for 23 hours per day; all forced to eat, sleep, and go to the

bathroom in the same space; cleaning is done by detainees; no access to hand sanitizer; at one point

after the beginning of the COVID-19 crisis, detainees were left for three days without soap to wash

their hands; and even now, the soap is not renewed as frequently as it runs out by the sinks in the

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bathroom area.

       Viewing the totality of the circumstances at both facilities, and taking into consideration

the documented medical conditions of Petitioners, the Court finds Petitioners are likely to succeed

on their substantive due process claim. While EDC and ECCF have made great efforts to control

the spread of COVID-19, without the ability to practice good hygiene and social distancing as

recommended to stop the spread, these medically vulnerable Petitioners nonetheless remain

unprotected.

                 2. Irreparable Harm

       The second prong of the balancing test for a TRO requires a movant to establish he or she

is “more likely than not” to suffer irreparable harm absent the requested relief. See Reilly, 858 F.3d

at 179. The Court finds Judge Vasquez’s holding on this ground particularly relevant:

               The Court has already explained the seriousness of the Covid-19
               pandemic and its rapid proliferation in this nation. Nonetheless, the
               Court will provide these sobering nationwide and county-wide
               confirmed case and death rates as a reminder. As of April 8, 2020,
               the United States has 425,000 confirmed cases and more than 14,000
               deaths. And in what is New Jersey’s second-most afflicted county,
               Essex, there are 5,078 confirmed cases and 232 deaths. Even more
               concerning, the state’s projected peak is likely still weeks away.

               As noted earlier in this opinion, in addition to the volume of ECCF
               detainees confined to inherently limited living and sleeping quarters,
               they also appear to have limited access to hygiene products and must
               share bathroom facilities with a large number of persons. Moreover,
               given the timing of the first confirmed case at ECCF, it appears the
               detainee contracted the virus while in ECCF’s jurisdiction.

               The previously described conditions of confinement raise serious
               concerns about the ability to stop transmission of the virus. With the
               conditions as currently described, at-risk detainees – including
               Petitioners -- cannot practically adhere to social distancing
               guidelines or the adequate level of personal hygiene, that have been
               touted as the most effective means to thwart the spread of the virus.
               Against this backdrop, Petitioners have demonstrated irreparable

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                harm should they remain in confinement. See Thakker, 2020 WL
                1671563 at *7 (“[C]atastrophic results may ensue, both to
                Petitioners and to the communities surrounding the Facilities.”); see
                also Hope v. Doll, Civ. No. 1:20-562 J.E.J. (M.D. Pa. Apr. 7, 2020)
                (“We cannot allow the Petitioners before us, all at heightened risk
                for severe complications from COVID-19, to bear the consequences
                of ICE’s inaction.”) The Court therefore finds that Petitioners have
                demonstrated irreparable harm should they remain in ECCF.

Rafael L.O., 2020 WL 1808843, at *8. This Court agrees. Taking into consideration the

dangerousness and contagiousness of this disease, Petitioners’ particular underlying medical

conditions and the conditions in which they are being held at EDC and ECCF, the Court finds they

have established they are more likely than not to suffer irreparable harm if they remain detained.

See Coronel, 2020 WL 1487274, at *8 (finding “[d]ue to their serious underlying medical

conditions” and their placement in immigration detention, where they are “at significantly higher

risk of contracting COVID-19,” the petitioners “face a risk of severe, irreparable harm”). 8

                3. Balancing of Equities and Public Interest

        “Before granting an injunction, a district court must balance the relative harm to the parties,

i.e., the potential injury to the plaintiff if an injunction does not issue versus the potential injury to

the defendant if the injunction is issued.” Novartis Consumer Health, Inc. v. Johnson & Johnson-

Merch Consumer Pharm. Co., 290 F.3d 578, 596 (3d Cir. 2002) (internal citation omitted). For the

reasons outlined above, the Court finds the potential of injury to Petitioners is high. However,

“ICE undoubtedly has a legitimate interest in ensuring that the petitioners do not flee and in



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  Respondent’s opposition to this ground for relief is not clear. It appears they are arguing
Petitioners’ injury is speculative. (Opp. 15.) The Court does not agree. As the Supreme Court
observed in Helling, “it would be odd to deny an injunction to inmates who plainly proved an
unsafe, life-threatening condition in their prison on the ground that nothing yet had happened to
them.” 509 U.S. at 33 (noting “the Courts of Appeals have plainly recognized that a remedy for
unsafe conditions need not await a tragic event”). Moreover, the Court has outlined the many
reasons why injury is not speculative in this case.
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protecting the public.” See Rafael L.O., 2020 WL 1808843, at *9. The Court also finds the public

has an interest in preventing the further spread of COVID-19 and preserving critical resources. Id.

However, the Court believes it can address Respondent’s very important interests in fashioning

appropriate conditions of release for each Petitioner.

       Petitioner Jason Anthony W. has felony convictions from several years ago involving

controlled substances. (Opp., Ex. C.) Petitioner Jiaqiang X. was convicted of several white collar

crimes which did not involve violence. (Id., Ex. F.) Notably, Petitioner Jiaqiang X. does not oppose

removal and, in fact, is actively trying to return to his home country of China. Petitioner Nery

A.C.M. was arrested in September 2019 for domestic violence, but the charge was later dropped.

Petitioner Nicolas M.M. was arrested on March 27, 2019, for check forgery and has public order

convictions in 2016 and 2019, as well as a driving under the influence conviction from over a

decade ago. As discussed in the attached order, for those with the most serious criminal histories,

the Court will impose the most stringent conditions of release, including electronic monitoring.

       B. Extraordinary Circumstances Justify Releasing Petitioners from Detention

       As also found by the courts in Rafael L.O. and Cristian A.R., Petitioners in this matter are

“vulnerable to severe complications and death if they contract COVID-19 and are incarcerated in

Facilities at the epicenter of the outbreak where they cannot practically adhere to social distancing

guidelines or the adequate level of personal hygiene to stop the spread of the virus. These facts

warrant the extraordinary remedy of release on bail, and make bail necessary, to make the habeas

remedy effective.” Cristian A.R., Civil Action No. 20-3600, ECF No. 26 at 29; see also Rafael

L.O., 2020 WL 1808843, at *5; Landano v. Rafferty, 970 F.2d 1230, 1239 (3d Cir. 1992)

(indicating that a court may only grant release pending a disposition of federal habeas claims when

the petitioner has raised “substantial constitutional claims upon which he has a high probability of

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success, and . . . when extraordinary or exceptional circumstances exist which make the grant of

bail necessary to make the habeas remedy effective”) (citation omitted)).

V. CONCLUSION

       For the foregoing reasons, Petitioner’s motion for a TRO (ECF No. 5) is GRANTED as to

Petitioners Jason Anthony W., Jiaqiang X., Tieku A., Nery A.C.M. and Nicolas M.M., who shall

be released subject to the conditions as ordered. Decision is RESERVED and the Court will order

expedited supplemental briefing regarding Petitioners Melvin A.A., Juan F.S.L. and Isaias R.A.

An appropriate Order accompanies this Opinion.

Date: April 17, 2020

                                                    /s/ Brian R. Martinotti
                                                    HON. BRIAN R. MARTINOTTI
                                                    UNITED STATES DISTRICT JUDGE




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